                  UNITED STATES DISTRICT COURT
                             FOR THE
                       DISTRICT OF VERMONT

RUMEYSA OZTURK,               )
                              )
          Petitioner,         )
                              )
     v.                       )    Case No. 2:25-cv-374
                              )
DONALD J. TRUMP, in his       )
official capacity as          )
President of the United       )
States; PATRICIA HYDE, in her )
official capacity as the New )
England Field Director for    )
U.S. Immigration and Customs )
Enforcement; MICHAEL KROL, in )
his official capacity as HSI )
New England Special Agent in )
Charge, U.S. Immigration and )
Customs Enforcement; TODD     )
LYONS, in his official        )
capacity as Acting Director, )
U.S. Immigration and Customs )
Enforcement; KRISTI NOEM, in )
her official capacity as      )
Secretary of the United       )
States Department of          )
Homeland Security; and MARCO )
RUBIO, in his official        )
capacity as Secretary of      )
State,                        )
                              )
          Respondents.        )

                        OPINION AND ORDER

     Respondents (hereinafter “government”) have submitted a

Motion for Continued Stay Pending Appeal. ECF No. 106. The Court

previously issued a stay of its April 18, 2025, Opinion and

Order (hereinafter “Opinion”) for four days “to allow either

party to appeal this order.” ECF No. 104 at 74. On April 22, the
government availed itself of the opportunity to appeal to the

U.S. Court of Appeals for the Second Circuit. ECF No. 105. This

Court’s stay expired on April 22. The government is now

obligated to ensure that Ms. Ozturk is transferred to ICE

custody within the District of Vermont no later than May 1,

2025. ECF No. 104 at 73.

     At the outset, the Court notes that the government’s motion

largely recycles the same arguments that the Court has

previously considered and rejected. The Court briefly summarizes

its rationale for rejecting some of these arguments here again,

but the Court refers the government to its Opinion for a fuller

explanation if necessary. The Court considers the four factors

from Nken v. Holder that the government has identified for

evaluating a motion to stay and finds that they weigh against

the government. 556 U.S. 418, 434 (2009). For the following

reasons, the government’s motion to stay Ms. Ozturk’s return to

Vermont is denied.

I.   Respondents Raise Jurisdictional Arguments that This Court

     has Duly Considered and Rejected.

     The government’s motion devotes two pages to its argument

that this Court lacks jurisdiction to consider Ms. Ozturk’s

habeas petition. The Court has previously considered these same

arguments in these proceedings. Both the government and Ms.

Ozturk filed lengthy briefs on these jurisdictional questions,

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and the Court devoted significant attention to the parties’

filings and oral arguments. The April 18 Opinion discussed these

very questions, and the Court found that its jurisdiction is

proper under 28 U.S.C. § 2241, that this Court is the

appropriate place for the habeas petition to be heard following

the petition’s transfer to this Court under 28 U.S.C. § 1631,

and that the INA does not bar this Court’s review of claims

regarding the legality of Ms. Ozturk’s detention. ECF No. 104 at

12-66. The government’s request that this Court now find that

the government “has made a strong showing that [it] is likely to

succeed on the merits,” ECF. No. 106 (quoting Nken v. Holder,

556 U.S. at 434), is patently at odds with this Court’s Opinion.

The Court will not relitigate those issues here, and it finds

that the government has not made a strong showing that it is

likely to succeed on the merits of its jurisdictional arguments.

II.   The Balance of Harms and Potential Disruption of the

      Court’s Proceedings Favors Rejecting a Stay

      As the Court explained in its Opinion, habeas proceedings

are by their nature equitable and flexible, and the Court has

the authority and the mandate to ensure the integrity of its

proceedings. ECF No. 104 at 67. The Court considered the

government’s clear opposition to transfer before issuing the

Opinion, but the Court found “that the equities strongly favor

Ms. Ozturk’s transfer to Vermont.” Id. at 67.

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     To briefly reiterate, Ms. Ozturk’s physical transfer to ICE

custody in Vermont will have no impact on the government’s

separate removal proceedings against her in immigration court.

However, her return to Vermont will facilitate speedy resolution

of her petition in this Court. At oral argument, the Court

directly asked the government’s counsel how the government would

be prejudiced if Ms. Ozturk were returned to Vermont. ECF No. 98

at 109. Government’s counsel did not then, and the government

does not now, offer any concrete injury that the government

would suffer. Id. at 109-110.

     The government now argues that it, and by extension the

public, would suffer an injury if Ms. Ozturk’s detention were

subject to judicial review. ECF No. 106 at 5-6. While the

executive branch assuredly has an interest in effectuating

statutes enacted by the legislative branch, the judicial branch

is charged with ensuring that the other branches do so in

comport with the laws and the Constitution. Powell v. McCormack,

395 U.S. 486, 506 (1969) (“‘[I]t is the province and duty of the

judicial department to determine in cases regularly brought

before them, whether the powers of any branch of the government,

and even those of the legislature in the enactment of laws, have

been exercised in conformity to the Constitution; and if they

have not, to treat their acts as null and void.’”) (quoting

Kilbourn v. Thompson, 103 U.S. 168, 199 (1880)); see also W.

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Virginia v. Env't Prot. Agency, 597 U.S. 697, 736 (2022) (“One

of the Judiciary’s most solemn duties is to ensure that acts of

Congress are applied in accordance with the Constitution in the

cases that come before us.”) (Gorsuch, J., concurring); City of

Arlington, Tex. v. F.C.C., 569 U.S. 290, 327 (2013) (“But there

is another concern at play, no less firmly rooted in our

constitutional structure. That is the obligation of the

Judiciary not only to confine itself to its proper role, but to

ensure that the other branches do so as well.”) (Roberts, C.J.,

dissenting); Dep't of Transp. v. Ass'n of Am. Railroads, 575

U.S. 43, 76 (2015) (“The ‘check’ the judiciary provides to

maintain our separation of powers is enforcement of the rule of

law through judicial review.”) (Thomas, J., concurring).

Furthermore, the public interest does not lie only on the

government’s side in this case. See N.Y. Progress & Prot. PAC v.

Walsh, 733 F.3d 483, 488 (2d Cir. 2013) (“[S]ecuring First

Amendment rights is in the public interest.”).

     As the Court noted in the Opinion, the Court intends to

resolve Ms. Ozturk’s habeas petition expeditiously, and Ms.

Ozturk’s presence in Vermont is necessary to assist the Court

with its consideration of her request for release on bail as

well as the underlying merits of her petition. ECF No. 104 at

66-68. The Court notes that Ms. Ozturk’s return to Vermont might

not even be an issue in this case had the government not ignored

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the order issued from the District Court in Massachusetts on

March 25, 2025. ECF No. 104 at 68-72. As the Court held in its

Opinion, the remedy here is simple, a return to the status quo.

Id. at 72. Instead, Ms. Ozturk is in detention in Louisiana,

where she reports that she is enduring overcrowding, unsanitary

conditions, a worsening medical condition, insufficient medical

care, and difficulties practicing her religion. Id. at 67.

Furthermore, should the Court’s schedule for resolution of Ms.

Ozturk’s habeas petition, id. at 73, be delayed in any way, the

government will not have suffered any concrete injury through

Ms. Ozturk’s return to Vermont, while Ms. Ozturk will be well-

positioned to present her case as soon as possible. Accordingly,

the Court finds that the balance of harms of a stay of transfer

would fall most heavily on Ms. Ozturk and would not be in the

public interest.

                           Conclusion

     For the foregoing reasons, the government’s motion for a

stay of Ms. Ozturk’s transfer to ICE custody within the District

of Vermont is denied. As the Court established in its April 18

Opinion, “Ms. Ozturk has presented viable and serious habeas

claims which warrant urgent review on the merits.” Id. at 73.

Any unnecessary delay of Ms. Ozturk’s transfer to this District

would likely disrupt or delay the Court’s proceedings,

potentially prolonging the very detention that is at the heart

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of this case. Meanwhile, Ms. Ozturk’s return to Vermont would

not unduly burden the government and would restore the status

quo at the time of the order from the District Court in

Massachusetts. The Court ordered that Ms. Ozturk be returned to

Vermont precisely so that the Court could resolve the habeas

petition as expeditiously as possible, and the Court intends to

do so.

     DATED at Burlington, in the District of Vermont, this 24th

day of April 2025.

                                   /s/ William K. Sessions III
                                   Hon. William K. Sessions III
                                   U.S. District Court Judge
